                      UNITED  STATES COURT
                       Case: 25-1568       OF8APPEALS
                                     Document:   Page: 1FORDate
                                                           THEFiled:
                                                                THIRD  CIRCUIT
                                                                     04/08/2025

                                                        No. 25-1568

                           Atlas Data Privacy Corp. et al.      vs. Zillow, Inc. et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Zillow, Inc. and Zillow Group, Inc.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                   ✔ Appellant(s)
                                             ____                               ____ Intervenor(s)

         ____ Respondent(s)                  ____ Appellee(s)                   ____ Amicus Curiae

(Type or Print) CounseO’s Name Samantha   L. Southall
                                ________________________________________________________________
                                   ____ Mr.      ✔ Ms.
                                               ____        ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
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SIGNATURE OF COUNSEL: /s/ Samantha L. Southall

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
